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1
                          UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
2
     CHERI MIMS,                                            4:13-1291-CW  CW
                                                 ) Case No. 3:13-cv-01291-MEJ
3
                                                 )
4            Plaintiff,                          )
                                                 ) ORDER
5
              vs.                                )
6                                                )
     FIRST FINANCIAL ASSET                       )
7
     MANAGEMENT, INC,                            )
8                                                )
             Defendant.                          )
9
     _________________________________           ) ________________________________
10

11

12         IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
13   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
14   41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
15   their own costs and fees.
16

17                                                   25th
                                          Dated this ____day of July, 2013.
18

19

20                                          _______________________________
                                             THE Honorable
                                            The  HONORABLE CLAUDIA WILKEN
                                                           Maria Elena-James
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28




                                        Order to Dismiss - 1
